         Case 3:19-cr-00041-JBA Document 51 Filed 12/27/19 Page 1 of 1



                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA

V.                                                                3: l 9-cr-00041- JBA-1

KENTW AN ROBINSON



                                  ENDORSEMENT ORDER

       After colloquy with counsel during a telephonic status conference on December 19, 2019, a

hearing concerning gunswitch sales is scheduled for February 5, 2020 at 10:00 a.m.

Additionally, the sentencing schedule was modified as follows.       The final version of the

Presentence Report has been filed (Doc. 45). Defendant's Sentencing Memorandum shall be filed

by January 10, 2020. Government's Sentencing Memorandum shall be filed by January 17, 2020.

The Defendant shall appear for sentencing on February 12, 2020 at 3:00 p.m. in Courtroom No. 2

of the United States District Courthouse, 141 Church Street, New Haven, Connecticut.




                                           IT IS SO ORDERED.


                                              /S/

                                                     d Arterton, U.S.D.J.



Dated at New Haven, Connecticut: December V/,2019
